433 F.2d 985
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.CONOCO PLASTICS, a Division of Continental Oil Company (Formerly Monroe Manufacturing Company, a Division of Continental Oil Company), Respondent.
    No. 29669 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    October 27, 1970.
    
      John J. A. Reynolds, Jr., Director, N. L. R. B., Memphis, Tenn., Arnold Ordman, Gen. Counsel, Dominick L. Manoli, Associate Gen. Counsel, Marcel Mallet-Prevost, Asst. Gen. Counsel, Washington, D. C., Leonard M, Wagman, Robert E. Williams, Attys., N. L. R. B., Washington, D. C., for petitioner.
      William J. Threadgill, Taylor B. Smith, Threadgill &amp; Smith, Columbus, Miss., for respondent.
      Before GEWIN, GOLDBERG and DYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      The National Labor Relations Board here petitions for enforcement of a supplemental bargaining order issued against Conoco Plastics, a division of Continental Oil Company. After an evidentiary hearing conducted by a trial examiner,1 the Board found that Conoco had violated section 8(a) (1) and (5) of the National Labor Relations Act, 29 U.S.C.A. § 158(a) (1), (5). It ordered the company to cease and desist from the unfair labor practice, to bargain collectively with the union2 which the Board had certified as the exclusive bargaining representative of Conoco's over-the-road truckdrivers, and to post appropriate notices. 177 N.L.R.B. No. 124. Considering the record as a whole, we conclude that there was substantial evidence to support the Board's supplemental decision and bargaining order. See Home Town Foods, Inc. v. NLRB, 5 Cir. 1969, 416 F.2d 392, 394; NLRB v. Golden Age Beverage Co., 5 Cir. 1969, 415 F.2d 26, 29, 32. Therefore, the Board's supplemental order is
    
    
      2
      Enforced.
    
    
      
        Notes:
      
      
        *
         Rule 18, 5th Cir. See Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5th Cir. 1970, 431 F.2d 409 Part I
      
      
        1
         In a previous action, this Court set aside a Board order issued against Monroe Manufacturing Company (now Conoco Plastics), a division of Continental Oil Company, and remanded the case to the Board for a hearing on certain issues. Monroe Mfg. Co., Div. of Continental Oil Co. v. NLRB, 5 Cir. 1968, 403 F.2d 197,setting aside 167 N.L.R.B. 1074. Subsequently the Board held a trial examiner's hearing on the merits and issued a supplemental decision and order. National Labor Relations Act § 10(b), (c), 29 U.S. C.A. § 160(b), (c).
      
      
        2
         General Drivers, Salesmen and Warehousemen's Local Union No. 984, an affiliate of the International Brotherhood of Teamsters, Chauffeurs, Warehousemen and Helpers of America
      
    
    